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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

UNITED STATES OF AMERICA §
§ CASENO. 4:23-CR-218-2

vs. §

§

(2) DHIRENKUMAR VISHNUBHAI PATEL, §

§

Defendant. §

ORDER
The Court GRANTS the Joint Motion to Continue Sentencing and Related Deadlines filed
by the United States and Defendant Dhirenkumar Vishnubhai Patel and resets the sentencing dates
as set forth below.

l. The Probation Office will disclose the initial Presentence Investigation Report

(PSR) to counsel by Maw | a ZW 24

2. Counsel will file any objections or a statement of no objection to the PSR by

Mou 31, 2024

3. The Probation Office will submit the final PSR with an addendum 7 days prior to

sentencing.

4. Sentencing will take place on ) Ui 7 4, ZU 24 at 4 ‘30 4 Ww
Signedon___ fYVere\ "7 2024.

KA

Andrew S. Hanen
United States District Judge

